     Case 2:18-cv-03061-MCE-AC Document 12-1 Filed 12/27/18 Page 1 of 4


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 8
                             UNITED STATES DISTRICT COURT
 9
                            EASTERN DISTRICT OF CALIFORNIA
10                                SACRAMENTO DIVISION
11
                                               Case No.: 2:18-cv-03061-MCE-AC
12 INTEL CORPORATION,
                                               DECLARATION OF DOYLE RIVERS IN
13 Plaintiff,                                  SUPPORT OF OPPOSITION TO AND
                                               CROSS-MOTION FOR PROTECTIVE
14 v.                                          ORDER AGAINST EX PARTE
15 DOYLE RIVERS, an individual, and DOES 1     APPLICATION FOR LEAVE TO
   through 10, inclusive,                      CONDUCT EXPEDITED DISCOVERY
16
                  Defendants.                  Action Filed: November 27, 2018
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                                               Judge: Hon. Morrison C. England
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                                               Trial Date: None
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         DECLARATION OF DOYLE RIVERS IN SUPPORT OF OPPOSITION TO AND CROSS-MOTION FOR
        PROTECTIVE ORDER AGAINST EX PARTE APPLICATION FOR LEAVE TO CONDUCT EXPEDITED
                                           DISCOVERY
                                 Case No. 2:18-CV-03061-MCE-AC
     Case 2:18-cv-03061-MCE-AC Document 12-1 Filed 12/27/18 Page 2 of 4


 1          I, Doyle Rivers, declare as follows:
 2          1.     I am a party to this action and if called as a witness, I could and would testify
 3 competently to the matters set forth herein.
 4          2.     In 2006, Micron Technology, Inc. (“Micron”) and Intel Corporation (“Intel”)
 5 began a joint venture to develop NAND flash memory technology.
 6          3.     Since 2012 Micron and Intel have had a second joint venture to develop a memory
 7 technology known as 3D XPoint, and to jointly develop 3D XPoint chip components.
 8          4.     The Micron-Intel joint ventures are commonly referred to as the Joint
 9 Development Program, or JDP.
10          5.     The JDP’s final jointly developed component is scheduled to be qualified in the
11 summer of 2019 and will end thereafter.
12          6.     Both Micron and Intel develop their own commercial products that incorporate the
13 jointly developed components.
14          7.      Both Intel and Micron are currently building separate teams to continue their work
15 independently when the JDP ends.
16          8.     I began my career at Micron in 2001, and my work included the joint development
17 of NAND flash technology. In 2010, I took a job at Intel, where my work eventually included the
18 joint development of 3D XPoint.
19          9.     On or about September 4, 2018, I informed my immediate supervisor at Intel, Dave
20 Dixon, that I was interviewing with Micron, that my final interview was September 7, 2018, and
21 that I would let him know whether I would be going to Micron on September 10, 2018.
22          10.    In anticipation of my potential departure, I prepared a file that I used to compile a
23 recipient mailing list for the farewell email that I would send.
24          11.    Specifically, I used a web interface to download relevant organizational structure
25 documents that contained the names of individuals I wanted to send the farewell email to,

26 including a spreadsheet listing my former team members, and saved them to the downloads folder
27 on my Intel laptop.
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                                          DISCOVERY
                                Case No. 2:18-CV-03061-MCE-AC
     Case 2:18-cv-03061-MCE-AC Document 12-1 Filed 12/27/18 Page 3 of 4


 1          12.    Then, using the Intel laptop, I created a single aggregated file into which I inserted
 2 a column that included an “X” mark to indicate the recipients of the farewell email, then filtered

 3 the subset, in order to copy the addresses into the farewell email.
 4          13.    I was concerned, however, that upon giving notice of my departure from Intel, I
 5 might be deprived of email access immediately, which would prevent me from sending the
 6 farewell email from my Intel email account. Therefore, I kept a copy of the list, in case I needed
 7 to send the farewell email from a personal email account.
 8          14.    Thus, in addition to saving the single aggregated file to my Intel laptop, I also
 9 placed a copy of it and the spreadsheet containing my former team members on a USB drive on
10 September 9, 2018.
11          15.    On September 10, 2018, I received an offer letter from Micron and accepted, and
12 gave notice to Intel that I would be going to Micron.
13          16.    As I retained email access after giving notice, I was able to use the spreadsheet
14 saved locally on my Intel laptop to send the farewell email on September 10, 2018 also.
15          17.    The single aggregated file/spreadsheet on my Intel computer corresponds with the
16 email sent from my Intel email account on September 10, 2018.
17          18.    I subsequently used my personal computer at home to delete the single aggregated
18 file/spreadsheet and the spreadsheet containing my former team members.
19          19.    I have never saved the single aggregated file/spreadsheet or the spreadsheet
20 containing my former team members to my personal computer at home.
21          20.    I have never shared the single aggregated files/spreadsheet or the spreadsheet
22 containing my former team members with anyone at Micron.
23          21.    I have not used, nor do I intend to use the single aggregated files/spreadsheet or
24 the spreadsheet containing my former team members for any purpose, apart from creating the
25 recipient list for the September 10, 2018 farewell email.

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                                 Case No. 2:18-CV-03061-MCE-AC
     Case 2:18-cv-03061-MCE-AC Document 12-1 Filed 12/27/18 Page 4 of 4


 1          22.    Also on September 9, 2018, I saved files containing 110 Perl scripts to the USB
 2 drive.

 3          23.    These 110 Perl scripts date back to the time period approximately 2006-2008 and
 4 contain software code that I wrote as an employee of Micron, to test and characterize NAND
 5 memory components as part of the Micron-Intel NAND JDP.
 6          24.    I have saved the 110 Perl scripts, which have sentimental value, but no practical
 7 use outside of the development environment, to my personal computer at home.
 8          25.    I have never uploaded any files from my Intel laptop, including the single
 9 aggregated files/spreadsheet, the spreadsheet containing my former team members or the 110 Perl
10 scripts, to any Micron computers.
11          26.    Through my attorneys, I have arranged for a forensic image of my personal home
12 computer to be made.
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14          I declare under penalty of perjury under the laws of the United States of America that
15 the foregoing is true and correct. Executed on December___, 2018 at Folsom, California.
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18                                               Doyle Rivers
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